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                               UNITED STATES DISTRICT COURT
                                 DISTRICT OF RHODE ISLAND

  UNITED STATES OF AMERICA


                  v.                            Criminal Case No. 21-121-JJM


  JOHN D. MACINTYRE

                         PRELIMINARY ORDER OF FORFEITURE

        The Information in this matter includes a forfeiture allegation that states in the event the

 Defendant is convicted of Count 1 in the Information, the Defendant shall forfeit to the United

 States, pursuant to 18 U.S.C. § 2253, all property, real or personal, used or intended to be used to

 commit or promote the commission of the offenses charged in the Information, and all property

 constituting or traceable to gross profits or other proceeds obtained from such offenses, and all

 visual depictions described in 18 U.S.C. §§ 2251-2252, and any book, magazine, periodical,

 film, videotape, or other matter containing any such visual depiction, which was produced,

 transported, mailed, shipped or received in committing such offense, including but not limited to

 one Acer Laptop bearing serial number HQ28AA00174405C5C340 (hereinafter the “Subject

 Property”).

        The parties agree that the Subject Property is subject to forfeiture as a matter of law and

 that there exist factual grounds sufficient to support forfeiture. Defendant has pleaded guilty to

 Count 1 of the Information.

        Based on the above, the Court finds that the Subject Property was involved in or used in

 violation of 18 U.S.C. §§ 2252(a)(4)(B) & (b)(2) and is subject to forfeiture pursuant to 18

 U.S.C. § 2253.

        Accordingly, it is hereby ORDERED, ADJUDGED, and DECREED that pursuant to 21
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 U.S.C. § 853 (as incorporated by 28 U.S.C. § 2461(c)), any and all right, title, and interest of

 Defendant in or to the Subject Property is hereby forfeited to the Government. It is further

 ORDERED, ADJUDGED, and DECREED that:

        1.      the Attorney General or his or her designee may seize the Subject Property in

 accordance with law pursuant to Fed. R. Crim. P. 32.2(b)(3);

        2.      pursuant to 21 U.S.C. § 853(n), the Government shall publish notice of this Order,

 notice of the United States’ intent to dispose of the property in such manner as the Attorney

 General may direct, and notice that any person, other than the Defendant, having or claiming a

 legal interest in the Subject Property must file a petition with the Court within thirty (30) days of

 the final publication of notice or of receipt of actual notice, whichever is earlier;

        3.      the notice shall state that the petition shall be for a hearing to adjudicate the

 validity of the petitioner’s alleged interest in the Subject Property, shall be signed by the

 petitioner under penalty of perjury, and shall set forth the nature and extent of the petitioner’s

 right, title or interest in the Subject Property and any additional facts supporting the petitioner’s

 claim and relief sought;

        4.      the Government may also, to the extent practicable, provide direct written notice

 to any person known to have alleged an interest in the Subject Property, as a substitute for

 published notice as to those persons so notified; and




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        5.      upon adjudication of all third-party interests, this Court will enter a Final Order of

 Forfeiture, pursuant to 21 U.S.C. § 853(n), in which all interests will be addressed.

                Ordered this _____ day of _______________, 2022.

 ENTER:



 CHIEF JUDGE JOHN J. MCCONNELL, JR.
 UNITED STATES DISTRICT COURT




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